     Case 2:21-cv-03500-MAK Document 529 Filed 09/22/22 Page 1 of 6




                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT PENNSYLVANIA

VALUE DRUG COMPANY, on behalf of
itself and all others similarly situated,

      Plaintiff,
                                            Civil Action No. 2:21-cv-03500-MAK
v.

TAKEDA PHARMACEUTICALS U.S.A.,
INC., WATSON LABORATORIES, INC.,
TEVA PHARMACEUTICAL INDUSTRIES
LTD., TEVA PHARMACEUTICALS USA,
INC., and AMNEAL
PHARMACEUTICALS LLC,

      Defendants.


   DEFENDANT AMNEAL PHARMACEUTICALS LLC’S OPPOSITION TO
PLAINTIFF’S MOTION FOR LEAVE TO TAKE DEPOSITION OF KAPIL GUPTA
            Case 2:21-cv-03500-MAK Document 529 Filed 09/22/22 Page 2 of 6




                                       INTRODUCTION

       Plaintiff has returned to this Court with yet another request for additional depositions

beyond the 10 depositions they are entitled to without leave pursuant to Rule 30(a)(2)(A)(i),

beyond the 15 depositions Defendants previously agreed to provide to Plaintiff (ECF No. 470),

and beyond any additional depositions from Par Pharmaceuticals Inc. (“Par”) that Plaintiff will

now be able to obtain after having dismissed Par with prejudice from this action (ECF No. 521).

On August 10, Your Honor ordered the parties to “meet and confer for the purpose of identifying

other witnesses whose depositions should be taken in this matter.” Ex. 1, Hr’g Tr. 17:19-24.

Plaintiff later discussed with Defendants a request for 7 additional depositions (ECF No. 470 at 1),

all of which Defendants ultimately agreed to. But without even attempting to meet and confer, on

September 13, 2022, Plaintiff improperly noticed the deposition of Mr. Gupta. See Plaintiff’s Rule

26.1(f) Certification (ECF No. 524 (“Mot.”)). Plaintiff’s effort to end-run the process ordered by

this Court and by the Federal Rules in order to continue to seek serial depositions should be

rejected.

       Moreover, Plaintiff has failed to sustain its burden of demonstrating “good cause” to

depose Mr. Gupta. Indeed, rather than show the requisite good cause, Plaintiff’s explanation of

why it now seeks to depose Mr. Gupta lays bare its game—deliberately first deposing an obviously

less knowledgeable witness to manufacture an excuse for additional depositions.                That

gamesmanship should not be rewarded, and Plaintiff’s motion should be denied.

                                          ARGUMENT

       “[T]he Federal Rules do not contemplate” an approach to discovery whereby Plaintiff may,

“without having demonstrated any good cause for doing so,” avoid a reasoned consideration of

how to efficiently utilize its permitted number of depositions. State Farm Mut. Auto. Ins. Co. v.

New Horizont, Inc., 254 F.R.D. 227, 235-36 (E.D. Pa. 2008). If a party “instead conduct[s]

                                                 1
         Case 2:21-cv-03500-MAK Document 529 Filed 09/22/22 Page 3 of 6




depositions seriatim, thereby shifting costs to the opposing side,” that is contrary to the Federal

Rules. Id. Where, as here, “‘the party seeking discovery has had ample opportunity to obtain the

information by discovery in the action,’ and has not provided a good reason for failing to do so,”

the requested discovery should be denied. Id. (quoting Fed. R. Civ. P. 26(b)(2)(C)).

       Plaintiff does not even attempt to explain its tactical decision originally to depose Mr.

Dhandhukia rather than his supervisor, Mr. Gupta. See Mot. at 2. 1 Indeed, as Plaintiff admits,

while Mr. Dhandhukia did not begin working at Amneal until August 2019—a fact that was readily

apparent based on a review of Mr. Dhandhukia’s publicly available LinkedIn profile, see Ex. 2, as

well as from the fact that the earliest-produced document mentioning Mr. Dhandukia is dated

August 12, 2019, see Ex. 3. Similarly, that Mr. Gupta’s tenure at Amneal dates back to 2012 is

also apparent from his LinkedIn, see Ex. 4, and the documents produced by Amneal. See Ex. 5

(email dated December 11, 2012 with Mr. Gupta as a participant). Nor was it a secret that Mr.

Gupta was Mr. Dhandukia’s supervisor. Exhibit 2 to Mr. Dhandhukia’s deposition shows him

being reviewed by Mr. Gupta. Ex. 6.

       And it was similarly clear that Mr. Dhandhukia was not involved in “upper-level decision

making and strategy regarding Amneal’s launch of generic Colcrys.” Mot. at 2. Mr. Dhandhukia’s

role at all relevant times was as a relatively new Amneal employee (having been hired in August

2019) and an Associate Director, Strategic Portfolio Management, a relatively junior role and title.



1
    Plaintiff’s citations to cases it claims show the relevance of the testimony it seeks are
    unavailing. See Mot. 2-3. The issue here is not whether Plaintiff could have reasonably
    deposed Mr. Gupta within either its as-of-right 10 depositions or the increase to 15 depositions
    Defendants later agreed to (see ECF No. 470 (describing Plaintiff’s request for 7 additional
    depositions, 3 of Takeda witnesses, 2 of Amneal witnesses, and 2 of Teva USA or Watson
    witnesses); ECF No. 474 (denying motion following Defendants’ consent to the additional
    depositions and Plaintiff’s withdrawal of the motion), but whether Plaintiff’s tactical decision
    not to do so should be rewarded with yet another burdensome deposition of an Amneal witness.

                                                 2
         Case 2:21-cv-03500-MAK Document 529 Filed 09/22/22 Page 4 of 6




See Ex. 2. Not only that, but that Mr. Dhandhukia was not on communications with, for example,

Amneal’s intellectual property group whereas Mr. Gupta was, is also a fact that is readily apparent

on the face of documents produced in this litigation. See, e.g., Ex. 7.

       There can be no question Plaintiff knew (or should have known) these facts.               The

inescapable conclusion is that Plaintiff elected to first depose Mr. Dhandhukia—knowing he would

not have knowledge about topics Mr. Gupta might know—to manufacture an excuse to demand

additional depositions.    Had Plaintiff proceeded in the opposite order, there would be no

justification for a duplicative deposition of Mr. Dhandhukia. Plaintiff must live with its tactics; it

cannot foist the burden of them onto Amneal.

       Furthermore, Plaintiff’s own authority makes clear that Plaintiff must show that Mr.

Gupta’s deposition is “essential to [Plaintiff’s] case.” Penn Eng’g & Mfg. Corp. v. Peninsula

Components, Inc., 2021 WL 3403470, at *3 (E.D. Pa. Aug. 3, 2021) (quoting Alaska Elec. Pension

Fund v. Pharmacia Corp., 2006 WL 6487632, at *4 (D.N.J. Aug. 22, 2006)). Plaintiff’s motion

plainly fails to meet that burden, as Plaintiff only proffers explanations of how Mr. Gupta’s

testimony might be “relevant.” Mot. at 1-2. If mere relevance were the standard, that would

sanction nearly limitless depositions, which would be contrary to both the language and purpose

of Rules 26 and 30. Plaintiff’s motion should be denied.

                                          CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiff’s motion for leave to take the

deposition of Mr. Gupta.




                                                  3
       Case 2:21-cv-03500-MAK Document 529 Filed 09/22/22 Page 5 of 6




Dated: September 22, 2022                KIRKLAND & ELLIS LLP

                                    By: /s/ Karl Gunderson
                                        Karl Gunderson (PA Bar ID 315413)
                                        Kirkland & Ellis LLP
                                        300 North LaSalle
                                        Chicago, Illinois 60654
                                        Tel: 312-862-2379
                                        karl.gunderson@kirkland.com

                                         Devora W. Allon, P.C. (pro hac vice)
                                         Alexandra I. Russell (pro hac vice)
                                         Gilad Bendheim (pro hac vice)
                                         Jacob M. Rae (pro hac vice)
                                         Andrew McCarty (pro hac vice)
                                         Kirkland & Ellis LLP
                                         601 Lexington Avenue
                                         New York, New York 10022
                                         Tel: 212-446-4800
                                         devora.allon@kirkland.com
                                         alexandra.russell@kirkland.com
                                         gilad.bendheim@kirkland.com
                                         jacob.rae@kirkland.com
                                         andrew.mccarty@kirkland.com

                                         Attorneys for Amneal Pharmaceuticals
                                         LLC




                                     4
         Case 2:21-cv-03500-MAK Document 529 Filed 09/22/22 Page 6 of 6




                                 CERTIFICATE OF SERVICE
       I, Karl Gunderson, hereby certify that on September 22, 2022, I served the foregoing

Defendant Amneal Pharmaceuticals LLC’s Opposition to Plaintiff’s Motion for Leave to Take

Deposition of Kapil Gupta (ECF No. 524) by electronically filing this document with the Clerk

of Court using the CM/ECF system, which will send an electronic notice to the registered

participants as identified on the Notice of Electronic Filing.

 Dated: September 22, 2022                    /s/ Karl Gunderson
                                              Karl Gunderson
